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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §    CRIMINAL NO. 4:09CR197 ALM/CAN
                                                    §
 JACOLBY FITZGERALD SIMMONS (3)                     §


                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the Government’s request for revocation of Defendant’s

 supervised release. After the District Court referred the matter to this Court for a report and

 recommendation, the Court conducted a hearing on October 6, 2016, to determine whether

 Defendant violated his supervised release. Defendant was represented by Felix Marquez. The

 Government was represented by Tracey Batson.

         On April 14, 2011, Defendant was sentenced by the Honorable Richard A. Schell, United

 States District Judge, to a sentence of seventy (70) months imprisonment followed by a four (4) year

 term of supervised release for the offense of Conspiracy to Possess with Intent to Distribute Cocaine

 Base. Defendant began his term of supervision on March 17, 2015.

         On September 19, 2016, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender under Supervision (the “Petition”) (Dkt. 232). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall not commit another federal,

 state, or local crime; (2) Defendant shall refrain from excessive use of alcohol and shall not purchase,

 possess, use, distribute, or administer any narcotice or other controlled substance, or any

 paraphernalia related to such substances, except as prescribed by a physician; (3) Defendant shall

 notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law


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 enforcement officer; and (4) Defendant shall participate in a program of testing and treatment for

 drug abuse, under the guidance and direction of the U. S. Probation Office, until such time as

 Defendant is released from the program by the probation officer.

        The Petition alleges that Defendant committed the following violations: (1) Defendant was

 arrested for driving while intoxicated on July 16, 2016, Defendant entered a plea of guilty to Driving

 While Intoxicated in the County Court at Law of Bowie County, Texas (16M1245-CCl), and was

 sentenced to twelve (12) months probation, one hundred eighty (180) days confinement (suspended),

 $1,000.00 fine, $407.00 court costs and one hundred (100) hours community service; (2) Defendant

 tested positive for marijuana on September 28, 2015, and Defendant tested positive for cocaine on

 October 5, 2015; (3) Defendant was arrested September 4, 2016, by the Gregg County Sheriff’s

 Office for driving while intoxicated and failed to notify the probation officer; and (4) Defendant

 failed to appear for random drug testing on September 16, 2015, April 12, 2016, April 25, 2016, and

 July 11, 2016.

        At the hearing, Defendant entered a plea of true to allegations: (2) Defendant shall refrain

 from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any

 narcotic or other controlled substance, or any paraphernalia related to such substances, except as

 prescribed by a physician; (4) Defendant shall participate in a program of testing and treatment for

 drug abuse, under the guidance of the U. S. Probation Office, until such time as Defendant is

 released from the program by the probation officer. Defendant waived his right to allocute before

 the district judge and his right to object to the report and recommendation of this Court. The Court

 finds that Defendant has violated the terms of his supervised release.




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                                         RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984, and having considered the arguments

.    presented at the October 6, 2016, hearing, the Court recommends that Defendant be committed to

     the custody of the Bureau of Prisons to be imprisoned for a term of twelve (12) months and one (1)

     day, with no supervised release to follow. The Court further recommends that Defendant’s term of

     imprisonment be carried out in FCI Beaumont, if appropriate.

             SIGNED this 27th day of October, 2016.

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                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE




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